USCA Case #23-1226   Document #2087142      Filed: 11/27/2024   Page 1 of 4



                                           November 27, 2024

Via ECF

Mark J. Langer
Clerk of the Court
United States Court of Appeals
 for the District of Columbia Circuit
E. Barrett Prettyman United States Courthouse
333 Constitution Ave., NW
Washington, DC 20001

      Re: Healthy Gulf, et al v. FERC, No. 23-1226
          Rule 28(j) Supplemental Authority
          Oral Argument Held September 10, 2024

Dear Mr. Langer:

Petitioners herein respond to Intervenors Driftwood LNG, LLC et al.’s
November 14, 2024 28(j) letter re Marin Audubon v. FAA, 2024 WL
4745044 (Nov. 12, 2024).

Intervenors claim that Marin Audubon mandates that “CEQ
regulations cannot provide a basis for overturning FERC’s approval” of
Lines 200-300, thus eliminating Petitioners’ claim that FERC illegally
“segmented” its NEPA review by not considering the Driftwood
Terminal’s impacts in the Lines 200-300 Environmental Impact
Statement.

Intervenors are wrong. First, in adopting its own NEPA regulations
FERC stated, “[s]ince the Commission is voluntarily complying with
CEQ regulations, there is no need to address” the question “whether
those regulations are binding on the Commission as a matter of law.” 52
Fed. Reg. 47898. Thus 18 C.F.R. 380.1 states FERC “will comply with”
CEQ’s regulations, and Marin Audubon expressly avoided the issue of
other agencies adopting or incorporating CEQ’s regulations. 2024 WL
4745044 at *9.


                                   1
USCA Case #23-1226   Document #2087142         Filed: 11/27/2024   Page 2 of 4



Indeed, FERC still considers itself bound by CEQ’s regulations, as
evidenced by three Commission orders issued on November 21, 2024:
Natural Gas Pipeline Company of America LLC, 189 FERC ¶ 61,131, P
34 n.57, citing its regulation requiring compliance with CEQ’s
regulations, and acknowledging Marin Audubon but noting it did not
decide whether other agencies “could permissibly adopt CEQ’s
regulations or incorporate them by reference”; Rover Pipeline LLC , 189
FERC ¶ 61,132, P 19 (same); Elba Liquefaction Company, L.L.C., 189
FERC ¶ 61,133, P 15 (same).

Second, segmentation violates NEPA itself. Years before CEQ’s first
regulations in 1978, courts held that agency attempts to segment projects
into smaller pieces to avoid or minimize review violated NEPA, e.g.,
Indian Lookout Alliance v. Volpe, 345 F.Supp. 1167, 1170 (S.D. Iowa
1972) (rejecting “divid[ing] a project into different components to secure
location or design approval and thereby limit the required E.I.S. to a
corresponding segment”); Named Individuals v. Texas Highway
Department, 446 F.2d 1013, 1024 (5th Cir. 1971) (rejecting argument
“that the division of the Project into segments was permissible”);
Thompson v. Fugate, 347 F.Supp. 120, 124 (E.D. Va. 1972); Sierra Club v.
Volpe, 351 F.Supp. 1002, 1008 (N.D. Ca 1972).


                                         Respectfully submitted,

                                      /s/ David Bookbinder
                                      Law Offices of David Bookbinder
                                      107 S. West St., Suite 491
                                      Alexandria, VA 22314
                                      (301) 751-0611
                                      david.bookbinder@verizon.net

                                      Attorney for Healthy Gulf and
                                      Sierra Club




                                  2
USCA Case #23-1226   Document #2087142        Filed: 11/27/2024   Page 3 of 4



                CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure, I certify that

the foregoing letter complies with:

        1. the word limitations of Federal Rule of Appellate

           Procedure 28(j) and this Circuit’s local rules, setting a limit

           of 350 words for Supplemental Authority Letters, because

           this letter contains 350 words; and

        2. the typeface requirements of Rule 32(a)(5) and the type

           style requirements of Rule 32(a)(6) because it has been

           prepared in a proportionally spaced typeface (14-point)

           using Microsoft Word (the same program used to calculate

           the word count).

                                 /s/David Bookbinder
                                 Law Offices of David Bookbinder
                                 107 S. West Street, Suite 491
                                 Alexandria, VA 22314
                                 301-751-0611
                                 david.bookbinder@verizon.net

                                 Attorney for Healthy Gulf and Sierra
                                 Club




                                      3
USCA Case #23-1226     Document #2087142         Filed: 11/27/2024   Page 4 of 4



                     CERTIFICATE OF SERVICE

      I hereby certify that, on November 27, 2024, a copy of the

foregoing was filed electronically. Notice of this filing will be sent to all

parties via the Court’s electronic filing system.



                                    /s/David Bookbinder
                                    Law Offices of David Bookbinder
                                    107 S. West Street, Suite 491
                                    Alexandria, VA 22314
                                    301-751-0611
                                    david.bookbinder@verizon.net

                                    Attorney for Healthy Gulf and Sierra
                                    Club




                                      4
